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                      EXHIBIT F
               Case
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                                   Talking Points on
                                   Talking Points    the 2019
                                                  on the 2019 Novel
                                                              Novel Coronavirus
                                                                    Coronavirus (2019-nCoV)
                                                                                (2019-nCoV)


“2019 Novel
"2019  Novel Coronavirus
                Coronavirus (2019-nCoV)
                                (2019-nCoV) isis aa virus
                                                    virus (more
                                                          (more specifically,
                                                                specifically, aa coronavirus)  identified as
                                                                                 coronavirus) identified  as the
                                                                                                              the cause of an
                                                                                                                  cause of an outbreak
                                                                                                                              outbreak of
                                                                                                                                        of
respiratory illness
respiratory  illness first  detected in
                      first detected in Wuhan,
                                        Wuhan, China.
                                                  China. Early
                                                          Early on, many of
                                                                on, many  of the
                                                                              the patients
                                                                                  patients in the outbreak
                                                                                           in the outbreak in
                                                                                                            in Wuhan,
                                                                                                                Wuhan, China
                                                                                                                        China reportedly
                                                                                                                               reportedly
had some
had        link to
     some link   to aa large
                       large seafood  and animal
                             seafood and   animal market,
                                                    market, suggesting
                                                             suggesting animal-to-person
                                                                        animal-to-person spread.     However, aa growing
                                                                                            spread. However,                number of
                                                                                                                   growing number    of
patients reportedly
patients reportedly have
                       have not
                             not had
                                  had exposure
                                      exposure to
                                                to animal
                                                    animal markets,
                                                            markets, indicating   person-to-person spread
                                                                     indicating person-to-person     spread is
                                                                                                             is occurring. At this
                                                                                                                occurring. At this time,
                                                                                                                                   time,
it’s unclear
it's unclear how
             how easily
                   easily oror sustainably this virus
                               sustainably this virus is  spreading between
                                                       is spreading between people.
                                                                              people. The
                                                                                       The latest  situation summary
                                                                                            latest situation  summary updates
                                                                                                                        updates are
                                                                                                                                 are
available on
available on CDC's
               CDC’s web web page
                              page 2019
                                    2019 Novel
                                         Novel Coronavirus,
                                                  Coronavirus, Wuhan,    China.”1
                                                                Wuhan, China."'

Several
Several of
         of our
            our clients have inquired
                clients have  inquired as
                                       as to
                                           to whether
                                              whether there
                                                      there is  coverage for
                                                             is coverage   for losses they have
                                                                               losses they       or expect
                                                                                           have or          to incur
                                                                                                    expect to        as aa result
                                                                                                               incur as    result of
                                                                                                                                  of the
                                                                                                                                      the
virus, which
virus, which has
              has spread
                   spread outside
                           outside of China. As
                                   of China.  As one might expect,
                                                 one might            we have
                                                             expect, we   have aa wide
                                                                                   wide range
                                                                                        range of clients who
                                                                                              of clients who may
                                                                                                               may be
                                                                                                                    be affected
                                                                                                                        affected inin aa
variety of
variety of ways
           ways by
                 by this
                     this outbreak.
                          outbreak. This  document will
                                     This document   will not
                                                          not deal
                                                               deal with
                                                                    with all
                                                                          all the
                                                                              the issues associated with
                                                                                  issues associated  with this
                                                                                                          this matter,
                                                                                                               matter, but
                                                                                                                       but will
                                                                                                                             will be
                                                                                                                                  be
helpful in
helpful    providing responses
        in providing   responses to
                                  to basic
                                     basic questions
                                           questions as
                                                     as it
                                                        it relates to the
                                                           relates to the coverage
                                                                          coverage provided
                                                                                     provided by
                                                                                               by our
                                                                                                  our policies.
                                                                                                       policies.

The
The standard FM Global
    standard FM          Advantage and
                 Global Advantage   and AFM
                                         AFM proVision
                                               proVision forms   provide aa specific
                                                         forms provide      specific coverage
                                                                                     coverage for  Communicable Disease.
                                                                                               for Communicable   Disease. The
                                                                                                                           The
Advantage policy
Advantage  policy provides
                  provides Communicable
                           Communicable Disease
                                           Disease Response
                                                    Response under
                                                               under Property
                                                                     Property Damage
                                                                                Damage and
                                                                                        and Interruption   by Communicable
                                                                                             Interruption by  Communicable
Disease under
Disease under Time
              Time Element.
                    Element. The  proVision policy
                             The proVision   policy provides
                                                    provides coverage
                                                              coverage for   Communicable Disease
                                                                       for Communicable      Disease —
                                                                                                     – Property
                                                                                                        Property Damage
                                                                                                                 Damage and
                                                                                                                         and
Communicable Disease
Communicable    Disease —
                        – Business
                          Business Interruption.
                                   Interruption. This memo addresses
                                                 This memo   addresses the
                                                                       the standard
                                                                             standard policy
                                                                                      policy language
                                                                                             language (cited
                                                                                                       (cited below).
                                                                                                              below).

Lead in
Lead  in policy  language policy
          policy language   policy language
                                    language is is noted     below:
                                                    noted below:
Property Damage
Property  Damage
  The 2019Advantage
  The  2019Advantage Policy
                          Policy states
                                 states in  part:
                                         in part:
     If
     If aa location
           location owned,
                    owned, leased
                             leased or
                                     or rented  by the
                                         rented by   the Insured
                                                         Insured has    the actual
                                                                    has the actual not
                                                                                   not suspected
                                                                                       suspected presence
                                                                                                 presence of
                                                                                                           of communicable
                                                                                                              communicable disease
                                                                                                                           disease
     and access
     and   access to
                  to such
                     such location  is limited,
                           location is limited, restricted
                                                  restricted oror prohibited
                                                                  prohibited by:
                                                                              by:
     1) an
     1)   an order of an
             order of  an authorized
                          authorized governmental
                                      governmental agency
                                                        agency regulating
                                                                  regulating the
                                                                              the actual
                                                                                  actual not
                                                                                         not suspected presence of
                                                                                             suspected presence of communicable
                                                                                                                   communicable
          disease; or
          disease; or
     2) aa decision
     2)     decision of
                      of an
                         an Officer
                            Officer of
                                    of the
                                        the Insured
                                             Insured asas aa result of the
                                                             result of the actual
                                                                           actual not
                                                                                  not suspected presence of
                                                                                      suspected presence  of communicable
                                                                                                             communicable disease,
                                                                                                                          disease,

  The proVision
  The proVision states:
                   states:
     If
     If aa described
           described location
                       location owned,
                                  owned, leased
                                          leased or
                                                  or rented
                                                     rented by
                                                            by the
                                                                the Insured  has the
                                                                    Insured has   the actual
                                                                                      actual not
                                                                                              not suspected
                                                                                                  suspected presence
                                                                                                            presence of
                                                                                                                      of
     communicable
     communicable disease         and access
                         disease and  access to
                                              to such  described location
                                                 such described    location is
                                                                             is limited, restricted or
                                                                                limited, restricted or prohibited
                                                                                                       prohibited by:
                                                                                                                  by:
           a) An
           a) An order
                  order of
                         of an
                             an authorized
                                authorized governmental     agency regulating
                                            governmental agency      regulating or  as result
                                                                                 or as result of
                                                                                              of such presence of
                                                                                                 such presence  of communicable
                                                                                                                   communicable
              disease; or
              disease;  or
           b) A
           b) A decision
                 decision ofof an
                               an Officer
                                  Officer of
                                          of the
                                             the Insured  as aa result
                                                  Insured as    result of
                                                                       of such
                                                                          such presence
                                                                                presence of
                                                                                          of communicable
                                                                                             communicable disease
                                                                                                              disease

This
This same
     same initial  lead in
           initial lead in language also appears
                           language also appears under
                                                 under the
                                                       the Advantage
                                                           Advantage Time Element coverage
                                                                     Time Element          and the
                                                                                  coverage and the proVision
                                                                                                   proVision Business
                                                                                                             Business
Interruption
Interruption coverage.
             coverage.

Q. What
Q. What is the trigger
        is the trigger of
                       of coverage
                          coverage for
                                   for Property
                                       Property Damage?
                                                Damage?

     A. Under
     A. Under each  policy there
               each policy there must
                                 must be
                                      be the
                                         the actual
                                             actual presence
                                                    presence of
                                                              of aa communicable
                                                                    communicable disease
                                                                                     disease at
                                                                                             at aa location owned, leased
                                                                                                   location owned,  leased or
                                                                                                                           or
        rented by
        rented by the
                  the Insured
                      Insured and
                              and the
                                  the access
                                      access must
                                             must be
                                                   be limited
                                                      limited by
                                                              by either   1) or
                                                                   either 1) or 2)
                                                                                2) under
                                                                                   under the
                                                                                         the Advantage,
                                                                                             Advantage, oror a)
                                                                                                             a) orb)
                                                                                                                or b) under
                                                                                                                      under
        proVision
        proVision

Q. When
Q. When does
        does this
             this coverage
                  coverage apply?
                           apply?

          A. Advantage
          A. Advantage Policy
                        Policy —
                               – under
                                 under both
                                         both Property
                                              Property Damage
                                                        Damage and
                                                                and Time   Element each
                                                                     Time Element    each state:
                                                                                          state:
                • This   Additional Coverage
                     This Additional   Coverage will
                                                  will apply
                                                       apply when
                                                             when access
                                                                   access to
                                                                          to such
                                                                             such location
                                                                                  location is
                                                                                            is limited,
                                                                                               limited, restricted or prohibited
                                                                                                        restricted or prohibited
                     in
                     in excess of 48
                        excess of 48 hours
                                      hours
          A. AFM
          A. AFM proVision
                  proVision Policy
                             Policy -- under
                                       under both
                                              both Property
                                                   Property Damage
                                                             Damage and
                                                                     and Business
                                                                          Business Interruption
                                                                                    Interruption each   state:
                                                                                                  each state:
                • This
                     This coverage
                          coverage isis subject
                                        subject to
                                                to the
                                                   the Qualifying
                                                       Qualifying Period
                                                                  Period in
                                                                         in the
                                                                            the Declarations
                                                                                Declarations section
                                                                                               section of
                                                                                                       of this
                                                                                                           this Policy
                                                                                                                Policy

Q. Would
Q. Would an
         an employee at aa location
            employee at    location who
                                    who is
                                        is affected
                                           affected with
                                                    with the
                                                         the communicable
                                                             communicable disease be considered
                                                                          disease be considered the
                                                                                                the "actual
                                                                                                    “actual presence"
                                                                                                            presence” of
                                                                                                                      of
   aa communicable
      communicable disease?
                   disease?




11 https://www.cdc.govicoronavirus/2019-ncoviabout/index.html
   https://www.cdc.gov/coronavirus/2019-ncov/about/index.html
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          A. Yes
          A. Yes -- if
                    if it can be
                       it can be confirmed
                                 confirmed the
                                            the employee   actually has
                                                 employee actually      the communicable
                                                                    has the communicable disease
                                                                                             disease and
                                                                                                     and that
                                                                                                         that the
                                                                                                              the presence
                                                                                                                  presence of the
                                                                                                                           of the
             communicable disease
             communicable       disease is
                                        is the
                                           the basis
                                               basis for the decision
                                                     for the decision limiting access as
                                                                      limiting access as noted
                                                                                         noted in sub-sections 1)
                                                                                               in sub-sections  1) and
                                                                                                                   and 2)
                                                                                                                       2) under
                                                                                                                          under the
                                                                                                                                 the
             Advantage Policy
             Advantage     Policy or a) and
                                  or a) and b)
                                             b) under
                                                under proVision
                                                      proVision Policy.
                                                                 Policy.

Q. How
Q. How can
       can we
           we determine whether an
              determine whether an employee
                                   employee has
                                            has the
                                                the communicable
                                                    communicable disease
                                                                 disease

          A. In
          A. In some  jurisdictions, access
                some jurisdictions,  access to
                                            to medical
                                               medical records
                                                        records is not possible
                                                                is not possible without
                                                                                without employee consent. However,
                                                                                        employee consent. However, the
                                                                                                                   the
             Insured
             Insured can  ask the
                     can ask  the employee
                                  employee for   the necessary
                                             for the necessary medical
                                                               medical diagnosis.
                                                                        diagnosis.

Q. If
Q.    an Insured
   If an         closes one
         Insured closes     or more
                        one or more locations
                                    locations because
                                               because they
                                                        they suspect the presence
                                                             suspect the presence of
                                                                                  of the
                                                                                     the communicable disease or
                                                                                         communicable disease or does so in
                                                                                                                 does so in
an abundance
an abundance ofof caution, would that
                  caution, would that trigger
                                      trigger coverage.
                                              coverage.

          A. No.
          A. No. Coverage
                 Coverage is only triggered
                          is only triggered if
                                            if there
                                               there is the actual
                                                     is the actual presence
                                                                   presence of
                                                                            of aa communicable
                                                                                  communicable disease.
                                                                                               disease.

Q. What
Q. What deductible would apply
        deductible would apply in
                               in the
                                  the event
                                      event of
                                            of aa covered
                                                  covered loss?
                                                          loss?

          A. If
          A. If aa coverage-specific
                   coverage-specific deductible
                                      deductible is not specified,
                                                 is not specified, the
                                                                   the largest applicable deductible
                                                                       largest applicable deductible would
                                                                                                     would apply.
                                                                                                           apply. For
                                                                                                                   For example,
                                                                                                                       example,
             if the
             if  the location
                     location deductible is $1,000,000
                              deductible is $1,000,000 combined
                                                        combined and
                                                                   and the
                                                                        the All
                                                                            All Other
                                                                                Other Loss
                                                                                      Loss deductible
                                                                                           deductible is $250,000, the
                                                                                                      is $250,000, the $1,000,000
                                                                                                                       $1,000,000
             would apply.
             would    apply.

Q. Would
Q. Would an
         an outbreak
            outbreak of
                     of aa different
                           different virus
                                     virus be
                                           be considered
                                              considered part
                                                         part of
                                                              of the
                                                                 the same occurrence?
                                                                     same occurrence?

          A. No
          A. No

Q. Does
Q. Does coverage under Civil
        coverage under Civil or Military Authority
                             or Military Authority apply?
                                                   apply?

          A. No
          A. No
             The Advantage
             The  Advantage form
                               form states:
                                    states:
             “This Policy
             "This  Policy covers
                            covers the
                                   the Actual
                                       Actual Loss
                                                Loss Sustained
                                                     Sustained and
                                                                 and EXTRA
                                                                     EXTRA EXPENSE
                                                                               EXPENSE incurred        by the
                                                                                             incurred by   the Insured  during the
                                                                                                               Insured during    the
             PERIOD OF
             PERIOD     OF LIABILITY
                            LIABILITY if  if an
                                             an order
                                                order of
                                                      of civil
                                                         civil or
                                                               or military
                                                                  military authority
                                                                           authority limits,
                                                                                     limits, restricts  or prohibits
                                                                                              restricts or  prohibits partial
                                                                                                                      partial or
                                                                                                                               or total
                                                                                                                                  total
             access to
             access  to the
                        the insured location provided
                            insured location  provided such
                                                        such order
                                                              order is the direct
                                                                    is the direct result
                                                                                  result of  physical damage
                                                                                         of physical   damage of of the
                                                                                                                    the type
                                                                                                                        type insured
                                                                                                                              insured atat
             the insured
             the insured location  or within
                          location or within five
                                              five statute miles/eight kilometres
                                                   statute miles/eight  kilometres of
                                                                                    of it….”
                                                                                       it...."

             The proVision
             The  proVision form   states:
                              form states:
             “This Policy
             "This  Policy covers
                            covers the
                                   the Business
                                       Business Interruption   Coverage loss
                                                  Interruption Coverage    loss incurred
                                                                                incurred byby the
                                                                                              the Insured  during the
                                                                                                  Insured during  the Period
                                                                                                                       Period of
                                                                                                                               of
             Liability if
             Liability if an
                          an order
                             order of
                                   of civil
                                      civil or
                                            or military
                                               military authority
                                                        authority prohibits
                                                                   prohibits access
                                                                             access to
                                                                                     to aa location
                                                                                           location provided
                                                                                                     provided such
                                                                                                              such order
                                                                                                                     order is
                                                                                                                           is the
                                                                                                                              the direct
                                                                                                                                  direct
             result of
             result of physical
                       physical damage
                                 damage of
                                         of the
                                             the type
                                                 type insured at aa location
                                                      insured at    location or
                                                                              or within
                                                                                 within five
                                                                                         five (5)
                                                                                              (5) statute miles of
                                                                                                  statute miles of it…”
                                                                                                                   it..."

          A virus
          A virus will
                  will typically
                       typically not
                                 not cause physical damage.
                                     cause physical            Under either
                                                     damage. Under           policy, the
                                                                      either policy, the presence
                                                                                          presence ofof aa communicable
                                                                                                           communicable disease
                                                                                                                          disease does
                                                                                                                                  does
          not constitute
          not            physical damage
              constitute physical damage and
                                           and is not of
                                               is not of the
                                                         the type
                                                             type insured  against as
                                                                  insured against  as aa virus
                                                                                         virus falls within the
                                                                                               falls within  the definition of
                                                                                                                 defmition of
          contamination, which
          contamination,   which is
                                  is excluded.
                                     excluded.

Q. Does
Q. Does coverage
        coverage under
                 under Contingent
                       Contingent Time Element Extended
                                  Time Element Extended (Advantage)
                                                        (Advantage) or
                                                                    or Supply Chain (ProVision)
                                                                       Supply Chain (ProVision) or
                                                                                                or Ingress/Egress
                                                                                                   Ingress/Egress
apply?
apply?

          A. No
          A.  No
             These coverages
             These  coverages require   physical loss
                                require physical loss or
                                                      or damage
                                                         damage to
                                                                 to property
                                                                    property of
                                                                              of the
                                                                                 the type
                                                                                     type insured
                                                                                          insured under
                                                                                                  under either  policy. The
                                                                                                         either policy. The
             presence of
            presence   of aa communicable   disease does
                             communicable disease    does not
                                                          not constitute
                                                              constitute physical
                                                                         physical damage
                                                                                   damage and
                                                                                           and is not of
                                                                                               is not of the
                                                                                                         the type
                                                                                                             type insured against as
                                                                                                                  insured against as
            aa virus
               virus falls
                     falls within
                           within the
                                  the definition
                                      definition of
                                                 of contamination,
                                                    contamination, which
                                                                     which is excluded.
                                                                           is excluded.

Q. Is
Q.    there any
   Is there any activity
                activity to
                         to consider prior to
                            consider prior to confirming
                                              confirming coverage or issuing
                                                         coverage or issuing aa payment?
                                                                                payment?

          A. Yes
          A. Yes -- keep
                    keep in mind that
                         in mind that most
                                      most policies
                                           policies issued
                                                    issued have
                                                           have aa specific
                                                                    specific limit for this
                                                                             limit for this coverage and an
                                                                                            coverage and  an annual
                                                                                                             annual aggregate
                                                                                                                    aggregate
            applies. Check
            applies.  Check with
                             with the
                                  the Claims
                                      Claims Manager
                                              Manager Written
                                                       Written asas well
                                                                    well as
                                                                         as the
                                                                            the DSGA
                                                                                DSGA Written
                                                                                         Written prior
                                                                                                 prior to
                                                                                                       to confirming coverage and
                                                                                                          confirming coverage and
            prior to
            prior to issuing any payment
                     issuing any payment to
                                          to determine
                                             determine the
                                                        the status
                                                            status of
                                                                   of the
                                                                      the annual
                                                                          annual aggregate.
                                                                                   aggregate.

While the
While  the FM
           FM Global
                Global Advantage
                        Advantage offers
                                      offers some  of the
                                             some of  the broadest
                                                           broadest property
                                                                     property coverage   available, there
                                                                              coverage available,     there are
                                                                                                            are still  events for
                                                                                                                 still events      which
                                                                                                                               for which
there may
there may be
           be no
               no coverage.
                  coverage. The
                             The Advantage
                                  Advantage and and AFM
                                                    AFM policies
                                                            policies insure against physical
                                                                     insure against physical damage
                                                                                              damage and and require    that there
                                                                                                              require that   there be
                                                                                                                                   be
insured physical loss
insured physical       or damage
                  loss or  damage toto property
                                       property before
                                                 before its
                                                         its coverages  become available.
                                                             coverages become    available. The    Communicable Disease
                                                                                             The Communicable          Disease coverage
                                                                                                                                coverage
provides for
provides for aa specific
                specific trigger
                         trigger of
                                 of coverage
                                     coverage under
                                               under these
                                                      these Additional
                                                              Additional Coverages.
                                                                         Coverages. If   there is
                                                                                      If there is aa report
                                                                                                     report of
                                                                                                            of loss,   FM Global
                                                                                                                loss, FM   Global stands
                                                                                                                                    stands
ready to
ready to provide
         provide all
                  all the
                      the coverage
                          coverage available
                                      available under
                                                under the
                                                       the terms
                                                            terms and
                                                                  and conditions  of its
                                                                       conditions of     policies.
                                                                                     its policies.
